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                                                September 14, 2022

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                      Re:     United States v. Mahesh Patel et al.
                              Criminal No. 21-00220-VAB

Dear Counsel:

        I am writing to reiterate the government’s request for Defendants’ discovery
disclosures under Federal Rule of Criminal Procedure 16(b) and Section (B) of the Local
Rules of Criminal Procedure for the District of Connecticut, Standing Order on
Discovery (“Standing Order”). These rules require Defendants to produce reciprocal
discovery in their possession, custody or control 14 days after the government’s initial
disclosure. That date has long passed. The Defendants should make the required
disclosures as soon as possible, including all documentary and expert disclosures relating
to Defendants’ purported ancillary restraint defense.
Letter to Defendants’ Counsel
September 14, 2022
Page 2 of 4

        Federal Rule of Criminal Procedure 16(b)(1) provides that, once the government
complies with its disclosure requirements under Rule 16(a), each Defendant must
produce reciprocal discovery to the government. Such discovery includes, among other
things, “books, papers, documents [and] data” in the defendant’s possession that he
“intends to use … in the defendant’s case-in-chief at trial,” as well as “a written summary
of any testimony that the defendant intends to use under Rules 702, 703, or 705 of the
Federal Rules of Evidence as evidence at trial.” Fed. R. Crim. P. 16(b)(1)(A), (C). The
Standing Order requires Defendants to make these disclosures “within 14 days after the
attorney for the government provides the discovery required by Paragraph A.”

        As you know, the government began making its discovery disclosures in this case
on January 20, 2022 and, to date, has produced over 710,000 documents to Defendants.
This discovery includes, among other things, voluminous email communications and
other documents received from third parties, notes of interviews of potential witnesses
and victims, and relevant grand jury transcripts and exhibits. The government has also
disclosed to Defendants, pursuant to Rule 16(a)(1)(G), that it does not intend to use
expert testimony pursuant to Rules 702, 703, or 705 in its case-in-chief. In other words,
the government has complied fully with its discovery obligations to date and continues to
make disclosures as it becomes aware of additional discoverable information.

        Despite the government’s repeated written requests for reciprocal discovery under
Rule 16(b) and the Standing Order, we have received not a single document from any of
the Defendants. Only one Defendant has even responded to the government’s requests for
disclosure, stating that he had nothing to disclose. Defendants’ continued silence on the
issue of discovery is of great concern, particularly in light of their recently-filed motion
to dismiss, which raises and argues a factually-intensive ancillary restraint defense.
Defendants base their purported defense on numerous factual premises, including the
following:

   •   “The outsourcing business model described in the Indictment, including the
       alleged no-poach term, facilitated the productive output of Company A[.]” (Mot.
       to Dismiss at 18)

   •   The alleged no-poach agreement “afford[ed] Company A increased control over
       the planning and execution of projects and delivery cycles and flexibility in the
       management of its labor expense.” (Id.)

   •   “The alleged agreements enhanced interbrand competition between Company A
       and rival jet engine manufacturers and thus promoted economic efficiency.” (Id.)

   •   “With respect to outsource service providers, the alleged no-poach agreement,
       inter alia, made it more practicable to complete contracted-for tasks on a timely
       basis; supported Company A’s ability to make commitments to future projects;
Letter to Defendants’ Counsel
September 14, 2022
Page 3 of 4

       allowed for the recoupment of training and recruitment costs; and mitigated the
       risk of ‘disintermediation’ between a customer and supplier ….” (Id. at 18-19)

   •   “Because of the significant costs incurred when a trained employee is hired by a
       competitor, including lost training investment, loss of proprietary information,
       and costs of training a substitute, some restrictions on employee attrition are often
       necessary for firms to invest efficiently in human capital, and enable training ‘that
       otherwise would not take place.’” (Id. at 24)

   •   “[I]t is reasonable for the purchaser to seek to avoid the disruption and delay
       associated with transfers of employees between outsource firms within the
       purchaser’s project-support ‘ecosystem.’” (Id.)

   •   “[A]n outsource supplier, particularly in the specialized industry in which
       Company A operates, would reasonably seek to avoid spending significant time
       and money on training employees to work on Company A’s projects, only to see
       another outsource firm or Company A hire away its trained personnel to continue
       to perform work on Company A’s projects.” (Id. at 24-25)

   •   “Hiring restrictions…promote consistent staffing, allowing the outsource vendor
       to commit to performing the contracted-for services, and incentivize the outsource
       firms to invest in recruitment and training.” (Id. at 25)

   •   “[N]o-poach agreements permit collaboration between firms who would not risk
       ‘cutting [their] own throat[s]’ by entering into such arrangements ‘unless [they]
       had received assurances that [the other party] would not compete’ by free-riding
       on their investment in human capital.” (Id.)

   •   “Where, in the outsourcing context, training is specific to the outsourcing client
       and is valuable to other outsourcing firms servicing the common client, the risk is
       enhanced that outsourcing firms will try to free ride by hiring away competitors’
       employees who have experience and training tailored to their common customer.”
       (Id. at 26)

   •   “Hiring restrictions in such a setting foster investment by allowing employers to
       recoup their investment in ‘training related to the brand,’ which would otherwise
       be subject to ‘free riding’ by ‘other outlets’ servicing that same brand.” (Id. at 27)

   •   “[B]ecause a staffing or outsourcing firm’s business model is based on its ability
       to serve as a middleman, preventing disintermediation or poaching of employees
       by a competitor ‘is essential to its very existence’ and ‘business model.’” (Id.)
Letter to Defendants’ Counsel
September 14, 2022
Page 4 of 4


   •   The business relationships alleged in the Indictment constitute a “singular
       commercial collaboration.” (Reply Br. at 27)


        Given Defendants’ apparent intent to raise an ancillary restraint defense at trial,
the government is entitled to (1) all documents and data relating to any aspect of that
defense that Defendants intend to use at trial, including any of the above-noted factual
assertions, and (2) a summary of any expert testimony defendants intend to offer at trial,
including testimony relating to any of the above-noted factual assertions. If Defendants
have no such documents or data in their possession, and/or do not intend to rely on any
expert testimony, they must affirmatively disclose that information to the government.
See United States v. Rajaratnam, No. S2 09 CR. 1184 RJH, 2011 WL 723530, at *2-5
(S.D.N.Y. Feb. 25, 2011) (granting government’s motion for reciprocal expert disclosures
under Rule 16(b)(1)(C) and holding that such required disclosures include an intent not to
call an expert). Please note that the government’s request in this letter, which is focused
primarily on the ancillary restraint defense raised in Defendants’ motion to dismiss, also
encompasses any other discovery required to be made under Rule 16(b) and the Standing
Order and which the government has requested since January 2022.

        The government is hopeful that this discovery matter can be resolved without
resorting to court intervention. Please let us know by September 23, 2022 whether
Defendants intend to provide the requested disclosures and when.



                                      Sincerely,

                                      T. Jakob Sebrow

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